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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF AMERICA                  §
                                          §
V.                                        §         No. 3:18-cr-635-N
                                          §
BRANDON KEITH WRIGHT,                     §
                                          §
               Defendant.                 §

                     MEMORANDUM OPINION AND ORDER

         Defendant Brandon Keith Wright is charged, in an indictment filed in this

district, with violations of 18 U.S.C. § 2251(a), Production of Child Pornography, and

18 U.S.C. § 2252A(a)(1), Transporting and Shipping Child Pornography. See Dkt. No.

3. He is set for trial on February 1, 2021 before United States District Judge David

C. Godbey. See Dkt. No. 41.

         The government moved for his pretrial detention. See Dkt. No. 8. On January

22, 2019, Defendant waived a detention hearing but reserved his right to ask for a

hearing if he is released from state custody while this case is pending, see Dkt. No.

16, and was ordered detained pending trial under 18 U.S.C. § 3142(f), see Dkt. No.

17.

         On March 31, 2020, Wright filed an Emergency Motion for Pretrial Release

Due to Public Health and Safety Threat Posed by COVID-19 Pandemic, see Dkt. No.

32, which the Court referred to the undersigned United States magistrate judge

under 28 U.S.C. § 636(b) for hearing, if necessary, and determination, see Dkt. No.

34. The government then filed a court-ordered response to the motion. See Dkt. No.
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36. And the Court denied the motion in a Memorandum Opinion and Order entered

on April 7, 2020. See Dkt. No. 37.

      On September 11, 2020, Wright filed essentially the same Emergency Motion

for Pretrial Release Due to Public Health and Safety Threat Posed by COVID-19

Pandemic, see Dkt. No. 42, which the Court has referred to the undersigned under 28

U.S.C. § 636(b) for hearing, if necessary, and determination.

      When compared to the motion filed just over five months ago, Wright’s motion

includes some updated information on the COVID-19 pandemic and a recent lawsuit

filed by a Dallas County officer and explains that,

      [s]ince the beginning of the pandemic, Mr. Wright has spent dozens of
      days in the infirmary due to 1) being considered “high risk”, and 2)
      testing positive for Covid-19 on July 29th.
             24. Mr. Wright has been in a standard pod in general population
      since August 15th because although healthcare officials at the jail agree
      he is “high risk”, there is no room elsewhere to house him.

Dkt. No. 42 at 1, 3, 5, 6, 7-8. The motion is otherwise identical to the previously filed

and denied motion. Compare Dkt. No. 32 with Dkt. No. 42

      The government opposes this second motion and responds that,

      [a]s schools and businesses continue to reopen, the risk of COVID has
      actually lessened rather than increased since the defendant first
      requested relief. The defendant’s new motion adds nothing for the Court
      to consider that it did not already consider when the Court first denied
      the defendant’s motion. For the reasons asserted in the government’s
      original Response in Opposition to Defendant’s Motion to Revoke
      Detention Order, and the reasons articulated in this Court’s denial of
      his original request, the government remains vehemently opposed to his
      release. Buying into his argument, every prisoner should be released
      from custody, no matter how dangerous they are. The new motion
      continues to ignore the egregious predatory behavior that required his
      detention in the first place, in that he sexually abused a three-year-old
      child, encouraged others to sexually abuse children, and distributed the



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      photos on the internet that he produced. He continues to be a threat to
      the public. The Court should deny the motion.

Dkt. No. 44 at 1.

                         Legal Standards and Analysis

      “The provisions of 18 U.S.C. §§ 3142 and 3144 govern pretrial release.” FED. R.

CRIM. P. 46(a).

      Wright was eligible for pretrial detention under 18 U.S.C. § 3142(f)(1) because

he is charged by indictment with two felony offenses under Chapter 110, which are

defined for purposes of Section 3142(f)(1) as “crimes of violence.” See 18 U.S.C. §

3156(a)(4)(C). Under the Bail Reform Act, “[i]f, after a hearing pursuant to the

provisions of [18 U.S.C. § 3142(f)], the judicial officer finds that no condition or

combination of conditions will reasonably assure the appearance of the person as

required and the safety of any other person and the community, such judicial officer

shall order the detention of the person before trial.” 18 U.S.C. § 3142(e)(1). And,

because a grand jury indicted Wright for offenses under 18 U.S.C. §§ 2251(a) and

2252A(a)(1) involving a minor victim, the Bail Reform Act provides that, “[s]ubject to

rebuttal by [Wright], it shall be presumed that no condition or combination of

conditions will reasonably assure the appearance of the person as required and the

safety of the community,” 18 U.S.C. § 3142(e)(3); accord Dkt. No. 8 at 2. Where, as

here, the presumption applies, although the burden of persuasion remains always




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with the government, Defendant must produce sufficient evidence to rebut the

presumption. See United States v. Hare, 873 F.2d 796, 798-99 (5th Cir. 1989).

       The Court may reopen a detention hearing, “before or after a determination by

the judicial officer, at any time before trial if the judicial officer finds that information

exists that was not known to the movant at the time of the hearing and that has a

material bearing on the issue whether there are conditions of release that will

reasonably assure the appearance of such person as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(f). And, “[i]f a person is ordered

detained by a magistrate judge, or by a person other than a judge of a court having

original jurisdiction over the offense and other than a Federal appellate court, the

person may file, with the court having original jurisdiction over the offense, a motion

for revocation or amendment of the order.” 18 U.S.C. § 3145(b). And the Court “may,

by subsequent order, permit the temporary release of the person, in the custody of a

United States marshal or another appropriate person, to the extent that the judicial

officer determines such release to be necessary for preparation of the person’s defense

or for another compelling reason.” 18 U.S.C. § 3142(i); see also United States v. Parker,

848 F.2d 61, 63 (5th Cir. 1988) (explaining that “a judicial officer may subsequently

order the temporary release of the detainee ‘to the extent that the judicial officer

determines such release to be necessary for preparation of the person’s defense.’”

(quoting 18 U.S.C. § 3142(i))).

       Wright knowingly and voluntarily waived a detention hearing after

consultation with his attorney (who also filed this motion), subject to reserving his




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right to ask for a hearing if he is released from state custody while this case is

pending. See Dkt. No. 16. Wright does not claim that he has been released from state

custody, see generally Dkt. No. 32, and the government has reported that “[a] Navarro

County grand jury indicted Wright on two counts of indecency with a child that

remain pending,” Dkt. No. 36 at 5 n.1.

      Neither does Wright ask to reopen and hold a new detention hearing under

Section 3142(f) to present new and material evidence bearing on the issue whether

there are conditions of release that will reasonably assure his appearance at trial or

the safety of any other person or the community if he were released.

      And, as before, see Dkt. No. 37, the Court does not read his motion as asking

the Court to revoke the original detention order under Section 3145(b), see generally

United States v. Rueben, 974 F.2d 580, 585 (5th Cir. 1992) (“When the district court

acts on a motion to revoke or amend a magistrate’s pretrial detention order, the

district court acts de novo and must make an independent determination of the proper

pretrial detention or conditions for release.”).

      Rather, as before, the Court understands Wright to be seeking “temporary

release” under Section 3142(i) “on appropriate conditions, at least until the resolution

of this outbreak,” based on what he asserts are compelling reasons based on “new”

and “changed circumstances” presented by the COVID-19 pandemic and his pretrial

detention in the Dallas County jail.

      18 U.S.C. § 3142(i) does “permit the temporary release of the person, in the

custody of a United States marshal or another appropriate person, to the extent that




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the judicial officer determines such release to be necessary for preparation of the

person’s defense or for another compelling reason.” 18 U.S.C. § 3142(i). Under Section

3142(i), courts have held that a defendant “bear[s] the burden to show that [her]

release is ‘necessary for preparation of the person’s defense’” or for another

compelling reason. United States v. Buswell, No. 11-CR-198-01, 2013 WL 210899, at

*5 (W.D. La. Jan. 18, 2013).

      In the context of arguments for release based on the COVID-19 pandemic as

“another compelling reason,” another court has explained that

      [t]here is limited authority as to when temporary release is justified
      under § 3142(i) based on “another compelling reason,” although a
      defendant’s medical condition may present that compelling reason in a
      particular case. See United States v. Rebollo-Andino, 312 Fed. App’x 346,
      348 (1st Cir. 2009) (noting the defendant could seek temporary release
      under § 3142(i) for medical reasons). Courts have typically granted relief
      under § 3142(i) only “sparingly to permit a defendant’s release where,
      for example, he is suffering from a terminal illness or serious injuries.”
      United States v. Hamilton, No. 19-CR-54-01, 2020 WL 1323036, at *2
      (E.D.N.Y. Mar. 20, 2020). ....
             A defendant’s concerns that he or she would face heightened
      COVID-19 risks if incarcerated would not typically factor into a § 3142(f)
      analysis, which focuses on whether the court can fashion conditions of
      release that will reasonably assure the defendant is not a risk of
      nonappearance or a risk of harm to any others or the community. The
      risk of harm to the defendant does not usually bear on this analysis.
      Rather, whether a defendant’s particular circumstances warrant release
      in light of the COVID-19 pandemic ought to more properly considered
      on a case-by-case basis under the “another compelling reason” prong of
      § 3142(i), as the district court did in Hamilton, 2020 WL 1323036, at *2.

United States v. Clark, Case No. 19-40068-01-HLT, 2020 WL 1446895, at *2-*3 (D.

Kan. Mar. 25, 2020). That court noted that the considerations for determining

whether detention or release is appropriate under Section 3142 “should be taken into

consideration in determining whether a defendant has presented such compelling



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reasons for temporary release that they effectively override or at least sufficiently

counterbalance the findings that originally justified the pretrial detention order.” Id.

at *3.

         Wright argues that his “ongoing pretrial detention poses an imminent threat

... to the health and safety of the community from a deadly infectious disease”; that,

if released, he “would be able to effectively protect himself from COVID-19”; and that,

because “[r]educing the size of the population in jails and prisons is crucially

important to reducing the level of risk both for those within those facilities and for

the community at large,” “[i]n this unique moment, release enhances the safety of

other people and the community – and is necessary to protect Mr. Wright’s own health

and safety.” Dkt. No. 42 at 1-2, 8 (citation, internal quotation marks, and emphasis

omitted). Wright asserts that he “must be able to exercise self-protective measures in

a sanitary, disinfected space, and to maintain social distance from other community

members to flatten the curve of the virus’s spread” and that, when he “was initially

detained, circumstances were different; this Court must consider the stark change in

circumstances.” Id. at 8.

         But, as the Court previously determined, see Dkt. No. 37, Wright’s argument

that his release is necessary to protect the safety of the community is unpersuasive

in the context of Section 3142, because the “assertion that there is a public good in

the release of as many prisoners as possible to avoid spread of the pandemic, as

[Wright essentially] argues ..., would be an argument for releasing all detainees,”

United States v. Munguia, No. 3:19-cr-191-B (03), 2020 WL 1471741, at *4 (N.D. Tex.




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March 26, 2020) (internal quotation marks and citation omitted). “[A]nd, as other

courts have also concluded, the court cannot not release every detainee who may be

at risk of contracting COVID-19, as it would then be required to release all detainees.”

United States v. Kerr, No. No. 3:19-cr-296-L, 2020 WL 1529180, at *3 (N.D. Tex. Mar.

31, 2020) (citation omitted).

      And the Court denies Wright’s Section 3142(i) request pointing to his COVID-

19 diagnosis and his time spent in the infirmary, followed by a return to general

population, as a “compelling reason” for his temporary release: His positive COVID-

19 test result on July 29, 2020 – when apparently followed by a subsequent negative

test result and recovery – does not, alone, amount to information that would be

relevant to, or enable Wright to show he can overcome, the rebuttable presumption

and show that he is neither a flight risk nor a danger to the community and can be

released pending trial on a combination of conditions that would reasonably assure

his appearance as required and the safety of any other person and the community.

As another judge in this district has noted, “contracting the COVID-19 virus is not in

and of itself a compelling reason for release,” and, even if “a detainee’s inability to

obtain necessary health care within the detention facility” might be such a reason,

United States v. Rivers, No. 3:17-cr-460-M, Dkt. No. 723 at 2 (N.D. Tex. July 29, 2020),

the record here does not support a finding that Wright is – or, at this point, has been

– unable to obtain necessary health care at his detention facility. Rather, he explains

that, although he has apparently returned to the general population after recovering

from COVID-19, he has frequently received medical care by jail officials who consider




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him “high risk.”

      Wright offers no factual basis to believe that his release would be appropriate

under 18 U.S.C. § 3142(c) and (e), after considering the 18 U.S.C. § 3142(g) factors,

and, under those circumstances, his contracting – and then apparently recovering

from – COVID-19 at his detention facility does not justify temporary release to an

“appropriate person” under 18 U.S.C. § 3142(i). Wright has failed to meet his burden

under 18 U.S.C. § 3142(i) to show that his temporary release from detention pending

trial is necessary at this time for another compelling reason.

                                    Conclusion

      For the reasons explained above, the Court DENIES Wright’s second

Emergency Motion for Pretrial Release Due to Public Health and Safety Threat Posed

by COVID-19 Pandemic [Dkt. No. 42].

      DATED: September 18, 2020



                                        _________________________________________
                                        DAVID L. HORAN
                                        UNITED STATES MAGISTRATE JUDGE




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